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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF SOUTH CAROLINA
                                                                               FLORENCE DIVISION

UNITED STATES OF AMERICA                                                                                                       )
                                                                                                                               )
                                                                                                                               ) CASE NUMBER: 4:09CR00068-RBH
                                                           VS.                                                                 )
Alan L. Berry, alk/a Alan Lenneau Berry                                                                                        )    ORDER
and                                                                                                                            )
~S!!.:he!:::.iI!!.!!a~B::-.:e:::..r.:...;ryu.,-=a:....::lk/:::....:a~Sh:.:..::e~il~a....:.::J~.,.:::;B,:::.:er:..:,r..!-y___   )

                   The jury having returned its verdict, the Clerk of Court is hereby authorized to return all

exhibits to the parties introducing them.

                   IT IS FURTHER ORDERED that the parties are to maintain the exhibits intact as

returned until the time of filing an appeal has expired.

                   IT IS SO ORDERED.



                                                                                                                               R. Bryan Harwell
                                                                                                                               UNITED STATES DISTRICT JUDGE
Florence, South Carolina
March ol~, ..   2010



       Receipt is hereby acknowledged of the designated exhibits introduced in evidence in the
above-captioned case by the GovernmentfDefendant(s).
